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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 6
       SUDHEER RAO MOTURI,
 7                                                        No. 2:21-CV-947-RSL-DWC
 8                                  Petitioner,
              v.                                          ORDER ADOPTING REPORT AND
 9                                                        RECOMMENDATION
       ICE FIELD OFFICE DIRECTOR,
10                            Respondent.
11

12          The Court, having reviewed the Report and Recommendation of Magistrate Judge David

13   W. Christel, objections to the Report and Recommendation, if any, and the remaining record,

14   does hereby find and ORDER:
15
            (1)    The Court adopts the Report and Recommendation.
16
            (2)    The Government’s motion to dismiss plaintiff’s habeas petition as moot (Dkt. 13)
17                 is granted.

18          (3)    Petitioner’s habeas Petition is denied, and this action is dismissed with prejudice.
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            (4)    The Clerk is directed to send copies of this Order to Petitioner, counsel for
20                 Respondent, and to the Hon. David W. Christel.

21
            DATED this 3rd day of December, 2021.
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24
                                                         A
                                                         Robert S. Lasnik
25
                                                         United States District Judge

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     ORDER ADOPTING REPORT AND RECOMMENDATION- 1
